                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


    BILL LIETZKE,
                               Plaintiff,
                   v.
    CITY OF BIRMINGHAM, et al.,                  Case No. 3:19-cv-00104-TMB

                              Defendants.


                                ORDER OF DISMISSAL

         Self-represented litigant, Bill Lietzke filed a complaint on April 12, 2019,

along with a civil cover sheet and a Motion to Proceed In Forma Pauperis. 1 The

cover sheet names the City of Birmingham, Alabama and Patrick D. Smith, Chief

as defendants. 2 Additionally, the cover sheet indicates that the complaint presents

a federal question under 42 U.S.C. § 1983 and describes the cause as “false

imprisonment, unlawful arrest, civil rights violations.

         The complaint alleges that on April 20, 2018 Mr. Lietzke arrived in

Birmingham, Alabama via Greyhound bus. 3 He alleges that the City of Birmingham

and “two (2) unidentified, unspecified African-american black Birmingham

Greyhound Lines, Inc. Defendants” caused Mr. Lietzke to be arrested.             The

complaint further alleges that Mr. Lietzke was subject to “unlawful arrest,” “freedom



1   Dockets 1-3.
2   Docket 2.
3   Docket 1 at 1-2.



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of movement by barrier or force and other total and complete unreasonable

duress,” and “unlawful physical contacts.”             Mr. Lietzke alleges the City of

Birmingham and the two unidentified defendants violated his First, Second, Third,

Fourth, and Fifth Amendment right of the U.S. Constitution. The complaint does

not mention or include allegations regarding Patrick D. Smith. 4

         For relief, Mr. Lietzke requests (1) “Actual, Punitive, and Compensatory

Damages against all Defendants for $2,000,000,000.00,” (2) an “assessment of

fines against all Defendants for $20,000,000.00, and (3) “imprisonment of all

Defendants in a maximum security federal/state prison for 10 years.” 5

                              SCREENING REQUIREMENT

         Federal law requires a court to conduct an initial screening of a civil

complaint filed by a self-represented litigant seeking IFP status. 6 In this screening,

a court shall dismiss the case at any time if the court determines that the action:

                (i)    is frivolous or malicious;

                (ii)   fails to state a claim on which relief may be granted; or




4   See Docket 1.
5   Docket 1 at 3.
6  See, e.g., Lopez v. Smith, 203 F.3d 1122, 1126 n.7 (9th Cir. 2000) (clarifying that the
relevant law, 28 U.S.C. § 1915(e) “applies to all [IFP] complaints,” and not just those
filed by prisoners).


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               (iii)   seeks monetary relief against a defendant who is immune
                       from such relief. 7

         To determine whether a complaint states a valid claim for relief, courts

consider whether the complaint contains sufficient factual matter that, if accepted

as true, “state[s] a claim to relief that is plausible on its face.” 8 In conducting its

review, a court must liberally construe a self-represented plaintiff’s pleading and

give the plaintiff the benefit of the doubt. 9 Before a court may dismiss any portion

of a complaint for failure to state a claim upon which relief may be granted, the

court must provide the plaintiff with a statement of the deficiencies in the complaint

and an opportunity to amend or otherwise address the problems, unless to do so

would be futile. 10




7   28 U.S.C. § 1915(e)(2)(B).
8 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 570 (2007)). In making this determination, a court may consider “materials
that are submitted with and attached to the Complaint.” United States v. Corinthian
Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citing Lee v. L.A., 250 F.3d 668, 688 (9th
Cir. 2001)).
9See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citing Bretz v. Kelman, 773
F.2d 1026, 1027 n.1 (9th Cir. 1985) (en banc)).
10See Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th Cir. 2010) (citing Albrecht v.
Lund, 845 F.2d 193, 195 (9th Cir. 1988)).


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                                       DISCUSSION

       Mr. Lietzke’s complaint alleges that he was assaulted and then wrongly

jailed in Birmingham, Alabama.            The complaint fails to establish personal

jurisdiction over the defendants and is filed in the incorrect venue.    Additionally,

Mr. Lietzke has repeatedly filed his allegations in numerous district courts and

therefore his complaint is frivolous. In this case, amendment would be futile;

therefore, leave to amend will not be permitted.

                                   Personal Jurisdiction

        The Court must have personal jurisdiction over the parties.          Personal

jurisdiction is “[a] court’s power to bring a person into its adjudicative process.” 11

Under the Rules of Civil Procedure, personal jurisdiction may be established over

a defendant who is “subject to the jurisdiction of a court of general jurisdiction in

the state where the district court is located.” 12 If the defendant is located out-of-

state, the United States Constitution requires that a defendant must have a

minimum level of contacts with the state in which the federal court is located in

order for that court to be authorized to hear the case. 13 A plaintiff must show that

an out-of-state defendant had sufficient minimum contacts with and in Alaska

necessary as not to offend the “traditional notices of fair play and substantial

justice.” 14

       The complaint articulates that the events at issue occurred in Birmingham,

Alabama.       Additionally, the addresses for the prospective defendants are all

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located in Alabama. The complaint does not establish any events or contacts that

would give defendants reasonable notice of this Court’s jurisdiction. Due to this

lack of contacts, it would offend the traditional notices of fair play and justice for

this Court to assert jurisdiction. Therefore, this Court has no personal jurisdiction

over the defendants.

                                           Venue

         A civil action must also be brought in the proper venue in order for a district

court to have proper jurisdiction. 15 In general, a civil lawsuit is properly filed in “(1)

a judicial district in which any defendant resides, if all the defendants are residents

of the State in which the district is located,” (2) where “a substantial part of the

events or omissions giving rise to the claim occurred,” or (3) if there is no other

district where the suit can be brought then in a judicial district where “any defendant

is subject to the court’s personal jurisdiction.” 16

         Here, none of the defendants reside in the District of Alaska, nor do the

alleged events take place in the District of Alaska. And, as discussed above, this

Court does not have personal jurisdiction over any of the defendants. Accordingly,

this action is not filed in the proper venue and must be dismissed.




15   28 U.S.C. § 1391.
16   28 U.S.C. § 1391(b).

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                                    Frivolous Lawsuits

         In accordance with federal law, a court must dismiss a case “at any time if

the court determines that the action or appeal is frivolous or malicious.” 17 The term

frivolous, or frivolous as a matter of law, is a legal term. It means that a case or

complaint “lacks an arguable basis in either in law or in fact.” 18 When a court

evaluates whether a complaint is frivolous, it must “pierce the veil of the complaint’s

factual allegations to determine whether they are fanciful, fantastic, or

delusional.” 19    Additionally, a complaint may be frivolous if it merely repeats

pending or previously litigated claims.” 20

         Mr. Lietzke has frequently attempted to litigate his allegations against the

City of Birmingham. A search of federal dockets reveals Mr. Lietzke has filed

complaints in numerous districts around the country including Alabama, Michigan,

Oregon, Montana, and California. 21 Additionally, Mr. Lietzke advances similar

factual allegations in Lietzke v. Greyhound Lines, Inc., 3:19-cv-106-TMB. As such,



17   28 U.S.C. § 1915(e)(2)(B); see also 28 U.S.C. § 1915A(b)(1); 42 U.S.C. § 1997e(c)(1).
18   Neitzke v. Williams, 490 U.S. 319, 325 (1989).
19   Neitzke, 490 U.S. at 327-28; see also Denton v. Hernandez, 504 U.S. 25, 33 (1992).
20   Cato v. United States, 70 F.3d 1103, 1105 n.2 (9th Cir. 1995).
21 See Lietzke v. City of Birmingham et al., 2:18-cv-00887 (M.D. Ala. 2018); Lietzke v.
City of Birmingham et al., 2:18-cv-00796 (N.D. Ala. 2018); Lietzke v. City of Birmingham
et al., 2:18-cv-11498 (E.D. Mich. 2018); Lietzke v. City of Birmingham et al., 9:19-cv-
00061 (D. Mont. 2019); Lietzke v. City of Birmingham et al., 2:18-cv-02733 (E.D. Cal.
2018); Lietzke v. City of Birmingham et al., 3:18-cv-06198 (N.D. Cal. 2018).

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Mr. Leitzke’s action is frivolous because it merely repeats previously litigated

claims.     Therefore, the complaint must be dismissed with prejudice for

frivolousness.

                                  Futility of Amendment

       Mr. Lietzke’s complaint lacks personal jurisdiction and venue. Under the

facts alleged, Mr. Lietzke is unable to establish personal jurisdiction over the

defendants.      Additionally, Mr. Lietzke has previously litigated these claims in

several jurisdictions, making them frivolous. Therefore, amendment is futile.

IT IS THEREFORE ORDERED:

1. The action is DISMISSED WITH PREJUDICE for lack of personal jurisdiction,

   lack of venue, frivolousness, and the futility of amendment.

2. The Application to Proceed in District Court without Prepaying Fees or Costs is

   DENIED AS MOOT.

3. The Clerk of Court is directed to enter a Final Judgment in this case.



DATED at Anchorage, Alaska this 11th day of June, 2019.

                                                           /s/ Timothy M. Burgess
                                                           TIMOTHY M. BURGESS
                                                           United States District Judge




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